       Case 4:13-md-02420-YGR Document 1951 Filed 09/13/17 Page 1 of 2




 1   [Counsel listed on signature page]

 2

 3

 4

 5

 6

 7

 8                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                   OAKLAND DIVISION
10

11
     IN RE LITHIUM ION BATTERIES                   Case No. 13-MD-02420 YGR (DMR)
12   ANTITRUST LITIGATION,
                                                   MDL No. 2420
13                                                 ORDER GRANTING
                                                   STIPULATION AND [PROPOSED]
14                                                 ORDER RE SCHEDULING OF
                                                   RENEWED CLASS CERTIFICATION
15                                                 HEARING
16                                                 Hon. Yvonne Gonzalez Rogers
     This Documents Relates to:
17
     ALL INDIRECT PURCHASER ACTIONS
18

19

20

21

22

23

24

25

26

27

28   STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULING OF RENEWED CLASS CERTIFICATION
     HEARING
     CASE NO. 4:13-md-02420-YGR
        Case 4:13-md-02420-YGR Document 1951 Filed 09/13/17 Page 2 of 2




 1           WHEREAS, on July 19, 2017, the Court entered an Order Setting Schedule re: Renewed

 2    Class Certification, Pretrial, and Trial Dates (Dkt. No. 1873) (the “Order”).

 3           WHEREAS, the Order set a hearing on renewed class certification and Daubert motions for

 4    Friday, January 12, 2018 at 10:00 a.m.

 5           WHEREAS, the parties filed a Stipulation and Proposed Order re Scheduling of Renewed

 6    Class Certification Hearing (Dkt. No. 1909), requesting modification of the renewed class

 7    certification hearing to January 17, 2018 at 10:00 a.m.

 8           WHEREAS, the Court is not available on January 17, 2018, the parties conferred to find a

 9    mutually agreeable alternative date and were unable.

10           WHEREAS, the parties, by and through their undersigned counsel, hereby STIPULATE and

11    agree as follows:

12           The Stipulation and Proposed Order re Scheduling of Renewed Class Certification Hearing

13           (Dkt. No. 1909) is withdrawn and the renewed class certification hearing will take place on

14           Friday, January 12, 2018 at 10:00 a.m., as originally scheduled.

15

16

17                                          [PROPOSED] ORDER
18    PURSUANT TO STIPULATION, IT IS SO ORDERED. The hearing on the renewed class

19    certification motion will take place on January 12, 2018, at 10:00 a.m.
      This terminates Docket Nos. 1909 and 1948.
20               September 13, 2017
      DATED: ________________

21
                                                   HON. YVONNE GONZALEZ ROGERS
22                                                 UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28   STIPULATION AND [PROPOSED] ORDER REGARDING SCHEDULING OF RENEWED CLASS CERTIFICATION HEARING
     CASE NO. 4:13-md-02420-YGR

                                                       -1-
